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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 IN RE:                                               MDL No. 2867
 LOCAL TV ADVERTISING ANTITRUST                       No. 18 C 6785
 LITIGATION
                                                      Honorable Virginia M. Kendall
 This Document Relates to All Actions
                                                      ORAL ARGUMENT REQUESTED


                        PLAINTIFFS’ FIRST MOTION FOR LEAVE
                        TO AMEND THE OPERATIVE COMPLAINT

       Plaintiffs Thoughtworx, Inc. d/b/a MCM Services Group, and One Source Heating &

Cooling, LLC (collectively, “Plaintiffs”) respectfully move the Court to amend the operative

complaint pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure. In support of this

motion, Plaintiffs hereby adopt and expressly incorporate their contemporaneously filed

Memorandum in Support of Plaintiffs’ First Motion for Leave to Amend the Operative

Complaint.


Dated: August 7, 2019                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I, Megan E. Jones, certify that on August 7, 2019, I caused the foregoing Plaintiffs’ First

Motion for Leave to Amend the Operative Complaint and the memorandum of law in support

thereof and its exhibit, to be filed with the Clerk of the Court through the CM/ECF system,

which will automatically send electronic notifications of the filing to all counsel of record.

                                                              /s/ Megan E. Jones




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